Case 2:20-cv-13134-LVP-RSW ECF No. 2, PageID.831 Filed 11/27/20 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRCT OF MICHIGAN

TIMOTHY KING,   MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES    JAMES    RITCHARD,
JAMES DAVID HOOPER and DAREN                 Case No. 2:20-cv-13134 LVP-RSW
WADE RUBINGH,
                                             Hon. Linda V. Parker
      Plaintiffs.
v.
GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State and the Michigan BOARD OF
STATE CANVASSERS.
      Defendants.




                         NOTICE OF APPEARANCE
      PLEASE TAKE NOTICE that David Fink of Fink Bressack hereby enters an

appearance on behalf of Intervenor-Defendant City of Detroit.

                                                  Respectfully submitted,

                                                  FINK BRESSACK
DATED: November 27, 2020
                                                  _/s/ David Fink (P28235)
                                                  David H. Fink (P28235)
                                                  Darryl Bressack (P67820)
                                                  Nathan J. Fink (P75185)
                                                  Attorneys for Intervenor-Defendant
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Case 2:20-cv-13134-LVP-RSW ECF No. 2, PageID.832 Filed 11/27/20 Page 2 of 3




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Case 2:20-cv-13134-LVP-RSW ECF No. 2, PageID.833 Filed 11/27/20 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2020, I electronically filed the foregoing

paper with the Clerk of the court using the ECF system which will send notification

of such filing to all counsel of record registered for electronic filing.

                                                FINK BRESSACK

                                                By: /s/ John L. Mack (P80710)
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